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 11
 12                     IN THE UNITED STATES DISTRICT COURT
 13                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
 14
 15   CHAMBER OF COMMERCE OF                        2:24-cv-00801-ODW-PVC
      THE UNITED STATES OF
 16   AMERICA, CALIFORNIA                           DEFENDANTS’ SUR-REPLY TO
      CHAMBER OF COMMERCE,                          PLAINTIFFS’ MOTION FOR
 17   AMERICAN FARM BUREAU                          SUMMARY JUDGMENT
      FEDERATION, LOS ANGELES
 18   COUNTY BUSINESS FEDERATION,                   Date:       September 9, 2024
      CENTRAL VALLEY BUSINESS                       Time:       1:30 PM
 19   FEDERATION, and WESTERN                       Courtroom:  5D
      GROWERS ASSOCIATION,                          Judge:      The Honorable Otis D.
 20
                                      Plaintiffs, Trial Date: Wright,
                                                                Not Set
                                                                        II
 21               v.                              Action Filed: 1/30/2024
 22   LIANE M. RANDOLPH, in her official
      capacity as Chair of the California Air
 23   Resources Board, STEVEN S. CLIFF,
      in his official capacity as the Executive
 24   Officer of the California Air Resources
      Board, and ROBERT A. BONTA, in
 25   his official capacity as Attorney
      General of California,
 26                                  Defendants.
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  1         Contrary to Plaintiffs’ assertions, Dkt. 59 (MSJ Reply) at 1-5, 7, 9, the recent
  2   NetChoice, LLC v. Bonta, — F.4th —, 2024 WL 3838423 (9th Cir. Aug. 16, 2024)
  3   decision militates against the application of strict scrutiny here, and confirms that
  4   the determination of “commercial speech” is a fact-driven analysis not subject to
  5   bright-line rules.
  6         1. The Ninth Circuit in NetChoice affirmed a preliminary injunction of
  7   certain provisions of the California Age-Appropriate Design Code Act (CAADCA)
  8   that require “covered businesses [to] opine on and mitigate the risk that children
  9   may be exposed to harmful or potentially harmful” content online. NetChoice,
 10   2024 WL 3838423, at *2. The Court applied strict scrutiny to these provisions
 11   specifically because they compelled businesses to opine on the speech of others and
 12   “to censor” speech based on those opinions. Id. at *12. Senate Bills 253 and 261
 13   do nothing of the sort. They simply require covered businesses to provide
 14   (1) quantitative data on greenhouse gas emissions and (2) descriptive accounts of
 15   their governance practices, internal risk planning, and targets and goals pertaining
 16   to climate risk. Dkt. 52 (MSJ Opp.) at 10. They do not require any business to
 17   opine on, or restrict access to speech, much less to “serv[e] as censors for the
 18   State.” NetChoice, 2024 WL 3838423, at *10. Indeed, these statutes do not even
 19   require a company to form opinions on its climate risk. MSJ Opp. at 10, 12-13;
 20   Dkt. 53 (Burton Declaration) at ¶ 38 (“Companies that do not evaluate climate-
 21   related risks could [comply with SB 261 by] mak[ing] disclosures that they do not
 22   have any climate-related governance, strategy, risk management, or metrics and
 23   targets ….”). Notably, NetChoice itself distinguishes the provisions of the
 24   CAADCA that censor content from other types of compelled risk disclosures,
 25   asserting that “[t]he problem” with the CAADCA provisions is “that the risk that
 26   businesses must measure and disclose” involve opinions about “disfavored speech.”
 27   NetChoice, 2024 WL 3838423, at *12 (distinguishing that “[a] report
 28
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  1   requirement that compels businesses to measure and disclose … certain types of
  2   risks potentially created by their services might not create a problem”).
  3         2. Further, NetChoice rejects Plaintiffs’ bright-line test for commercial
  4   speech and, in fact, confirms that speech can be commercial when it does not
  5   propose a specific commercial transaction. The Court reiterates that “the
  6   commercial speech analysis is fact-driven, due to the inherent difficult of drawing
  7   bright lines that will clearly cabin commercial speech in a distinct category.” Id.
  8   (cleaned up). And the Court demonstrates this flexibility by directing the district
  9   court to apply Zauderer scrutiny to requirements in the CAADCA concerning
 10   disclosures of privacy policies and community standards to users of internet
 11   platforms—speech that is neither attached to an advertisement nor proposes a
 12   particular commercial transaction. Id. at *15. Put simply, NetChoice confirms both
 13   that Plaintiffs’ conception of commercial speech is far too narrow, and that
 14   Zauderer is the appropriate lens through which to review compelled corporate
 15   disclosures regarding facts about their own commercial practices.
 16
 17   Dated: September 3, 2024                        Respectfully submitted,
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  1                           CERTIFICATE OF COMPLIANCE
  2            The undersigned, counsel of record for Defendants Liane M. Randolph,
  3   Steven S. Cliff, and Robert A. Bonta, certifies that this brief contains 493 words,
  4   which complies with the Court’s order of August 30, 2024 (Dkt. 63).
  5
  6   Dated: September 3, 2024                        Respectfully submitted,
  7                                                   Rob Bonta
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                                                      /s/ Caitlan McLoon
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                                                      Randolph, Steven S. Cliff, and Robert
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                           CERTIFICATE OF SERVICE


 Case Name: Chamber of Commerce of the United States of America, et al.
            v. Liane M. Randolph, et al.

 Case No.:      2:24-cv-00801-ODW-PVC


 I hereby certify that on September 3, 2024, I electronically filed the following
 documents with the Clerk of the Court by using the CM/ECF system:

                DEFENDANTS’ SUR-REPLY TO PLAINTIFFS’
                  MOTION FOR SUMMARY JUDGMENT

 I certify that all participants in the case are registered CM/ECF users and that
 service will be accomplished by the CM/ECF system.

 I declare under penalty of perjury under the laws of the State of California and the
 United States of America the foregoing is true and correct and that this declaration
 was executed on September 3, 2024, at Los Angeles, California.



          Beatriz Davalos                             /s/ Beatriz Davalos
            Declarant                                      Signature




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